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     Construction; & Jay Zachary Zuppardo; and Jay Anthony
 6   Zuppardo
 7

 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10

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12
     ARCH INSURANCE COMPANY a                CASE NO. 5:21-cv-01876-JWH-SP
13   Missouri corporation,
14                 Plaintiff,                SECOND COUNTER CLAIM BY
                                             JAY ANTHONY ZUPPARDO &
15   v.                                      JAY ZACHARY ZUPPARDO
16   M.V.C. ENTERPRISES, INC. dba
     MORENO VALLEY
17   CONSTRUCTION, a California
     Corporation; JAY ZACHARY
18   ZUPPARDO, a California resident;        Complaint Filed: 11/4/2021
     and JAY ANTHONY ZUPPARDO,
19   a California resident.                  Assigned to District Judge John W.
                                             Holcomb and Magistrate Judge
20                  Defendants.              John D. Early
     _____________________________
21
     JAY ZACHARY ZUPPARDO; and
22   JAY ANTHONY ZUPPARDO,
23                  Counter-Claimants
24   v.
25   ARCH INSURANCE COMPANY
     a Missouri corporation.
26
                    Counter-Defendant
27

28        COUNTER-CLAIMANTS, Jay Zachary Zuppardo and Jay Anthony

                                SECOND AMENDED COUNTER CLAIM
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 1   Zuppardo (collectively, “Zuppardos”) hereby allege as follows:
 2   JURISDICTION AND VENUE
 3   1.    This court has jurisdiction over this civil action under 28 USC §1332, in that
 4   the controversy exceeds, exclusive of costs and interest, $75,000.00, and 28 USC
 5   §1367 in that the claim is a compulsory counter claim arising out of the same
 6   transaction giving rise to Plaintiff’s complaint.
 7   2.    Venue is appropriate in that it has already been established on the Complaint
 8   and the acts complained of herein by Zuppardos occurred within Riverside County.
 9   THE PARTIES
10   3.    The Zuppardos are Jay Anthony and Jay Zachary Zuppardo, father and son
11   owners of Defendant MVC Enterprises, Inc., (“MVC”) a California general
12   contracting company that at all relevant times herein was a licensed contractor.
13   4.    Arch Insurance Company, A Missouri corporation (hereinafter “Arch” or
14   “Plaintiff”) was a duly licensed and admitted surety insurer in the State of
15   California and issued contract surety bonds, including performance and payment
16   bonds.
17   GENERAL ALLEGATIONS
18   5.    Arch issued various performance and payment bonds to MVC to enable
19   MVC to conduct business with public entities, such as school districts, who
20   required such bonds as a condition to awarding bids. The bonds were issued
21   pursuant to an indemnity agreement between Plaintiff and the Zuppardos dated
22   September 30, 2019 (“Agreement”). This is the same Agreement upon which
23   Plaintiff bases it’s complaint and is the operative written agreement in this matter.
24   One of the public entities involved was Antelope Valley Community College
25   District (“AVCC’).
26   6.    At the end of 2020 and beginning of 2021, MVC was working on three (3)
27   different large projects for AVCC: Student Services, Discovery Center and
28   Marauder. Each of the three projects was a multi-million-dollar grading and
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                                  SECOND AMENDED COUNTER CLAIM
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 1   concrete job. AVCC started threatening defaults on the three projects on March
 2   18, 2021. Arch was copied on the default threats and was advised that AVCC had
 3   not been paying MVC for the work that MVC performed. MVC and Arch spoke
 4   often about the AVCC projects during the Spring and Summer of 2021 and MVC
 5   made it very clear to Arch that MVC had to be paid by AVCC in order for MVC to
 6   maintain enough liquid capital to keep all of its projects going. Arch participated
 7   in the conversations between AVCC and MVC in which MVC sought payment
 8   from AVCC. Susan Neff, of Arch Insurance, was on the Zoom conferences
 9   between MVC and AVCC, along with AVCC’s counsel, Sherman Wong. During
10   video conferences of the Spring and Summer of 2021, Mr. Wong threatened both
11   Arch and MVC that AVCC expected continued work on AVCC projects despite
12   the status of payment. As a result, Arch was aware of the rather large outstanding
13   balance owed MVC on the projects Arch bonded. During phone calls with the
14   Zuppardos, Ms. Neff and several superiors at Arch, Arch pushed MVC to keep
15   working on its bonded projects, which meant spending more capital, to avoid
16   breaches of the agreements with AVCC and pressured MVC into continuing work
17   on the projects. Ms. Neff pointed out to MVC that it would be best if MVC
18   continued to work the projects to prevent a breach with AVCC. MVC pointed out
19   that that course of action would basically require them to fund the construction of
20   the AVCC projects, which was something that they could not do. MVC had other
21   Arch-bonded projects as well and was relying on monies coming in from the other
22   projects to fund ongoing operations, as well as loans from the Zuppardos and third-
23   parties. After telling MVC to keep working the AVCC project to prevent a breach
24   with AVCC, Arch benefitted from MVC’s continued outlay of capital to the extent
25   that Arch was thus not required to pay claims against the bonded projects while
26   MVC kept paying vendors and subcontractors without itself being paid by AVCC.
27   7.    On or about July 15-16, 2021, Susan Neff, of Arch Insurance, Jay Zuppardo
28   and Zach Zuppardo participated in a telephone conference during which the claims
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                                 SECOND AMENDED COUNTER CLAIM
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 1   of AVCC were again addressed. During the conference, the Zuppardos inquired
 2   about financing to keep MVC afloat and protect both MVC and Arch.
 3   8.    On August 5, 2021, MVC sent correspondence to Arch, requesting financial
 4   assistance, based on the hardships that AVCC had caused. At that point, the funds
 5   available from loans were drying up, but MVC was still being paid by other
 6   projects. Arch advised MVC that it was considering financial assistance to MVC.
 7   9.    At the same time that AVCC was threatening defaults and refusing to pay
 8   for work that was not in dispute, MVC was also dealing with trying to keep
 9   employees on site and working. As a result of COVID-19 related hardships, many
10   of MVC’s personnel would not show up to work as reliably as pre-pandemic times.
11   As such, the problems in getting personnel and equipment on site were exacerbated
12   by the pandemic and Arch was made aware of this.
13   10.   As of September 7, 2021, AVCC had also damaged MVC to the tune of
14   $5,793,835.71, based solely on one project for AVCC, known as Marauder, by
15   failing and refusing to pay for the work of MVC at that project. Arch was aware
16   of the dispute since the Spring of 2021 and aware of the lack of liquid capital
17   related to AVCC’s failure to pay. This was merely one of three (3) similarly sized
18   projects that MVC was working on for AVCC.
19   11.   MVC had requested financial assistance from Arch, but never got a solid
20   response from them, except that MVC should do its best to continue working its
21   projects while Arch considered MVC’s requests, and that Arch was still
22   considering the request. From August of 2021 through October 1, 2021, MVC
23   provided additional financial information to Arch. MVC advised Arch that time
24   was of the essence in making a determination as to whether or not Arch was going
25   to provide financial assistance because of the pending problems covering payroll
26   based on AVCC’s failure to pay. Retained counsel for MVC, John Darling, was
27   also in communication with counsel for Arch, Chris Bunge, on the issue.
28   12.   On September 28, 2021, MVC sent another formal request to Arch for
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                                 SECOND AMENDED COUNTER CLAIM
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 1   financial assistance. Arch’s response was that they were still considering the
 2   request.
 3   13.   Arch put a freeze-payment on all payments by all public entities to MVC on
 4   September 30, 2021, while they were still representing to MVC that MVC should
 5   continue working on the bonded projects and that they were still considering
 6   financial assistance. As a result, the Arch-bonded projects that had been paying
 7   MVC stopped doing so. Arch’s correspondence of September 30, 2021 had the
 8   effect of preventing MVC from collecting on funds due to it. These were funds
 9   that could have been used toward the bonded projects and could have been used to
10   keep suppliers and providers up to date.
11   14.   On information and belief, Arch’s actions prevented the payment of
12   somewhere between $750,000 and $1.5 million. At the same time, Arch dragged
13   their feet in dealing with the processing of the claims by AVCC. The Marauder
14   project received a denial, but claims on two separate projects, Discovery Lab and
15   Student Services, went unaddressed. Had these claims been addressed, it is
16   believed that AVCC would have been more forthcoming in payments owed.
17   15.   MVC and the Zuppardos learned of Arch’s September 30, 2021 letter on or
18   about October 4, 2021, when the project manager for AVCC sent correspondence
19   to the Zuppardos.
20   16.   In the meantime, Arch was still representing to MVC and the Zuppardos that
21   they were considering requests for financial assistance. On October 1, 2021, MVC
22   asked for funds to help cover payroll to keep workers on site. In an email from the
23   same date, Susan Neff of Arch indicated that Arch had not yet completed its
24   assessment of the request for financial assistance, which had the expected effect of
25   keeping MVC and the Zuppardos working and covering payments while Arch
26   already knew that no assistance would be provided.
27   17.   Had Arch been forthright in their dealings with MVC and either denied a
28   request for financial assistance, or accepted the same, MVC would not be in its
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                                 SECOND AMENDED COUNTER CLAIM
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 1   current position. Had Arch outright denied the request, instead of implying that it
 2   was a possibility, MVC and the Zuppardos would have stopped borrowing to keep
 3   spending money on projects. MVC and the Zuppardos would have preferred that
 4   Arch agreed to the alternative. But either way, Arch’s actions in stringing MVC
 5   along while at the same time benefitting from the fact that MVC was acting to
 6   prevent defaults on projects, and at the same time undercutting MVC’s ability to
 7   collect from other projects all amounted to detriment to MVC.
 8   18.    As the proximate result of Arch’s actions, MVC and the Zuppardos
 9   borrowed money to cover costs that they would not have covered had Arch been
10   forthright and upfront in its determination to not provide financial assistance.
11   FIRST CAUSE OF ACTION
12   (Breach of the Covenant of Good Faith and Fair Dealing)
13   19.    The Zuppardos incorporate by reference Paragraphs 1 through 18 as though
14   set forth fully herein.
15   20.    Arch violated its duty to act fairly and in good faith during the performance
16   of the Agreement between Arch, MVC and the Zuppardos.
17   21.    The Zuppardos and Arch entered into the Agreement by which the
18   Zuppardos agreed to guarantee the surety agreement between Arch and MVC. This
19   is the same indemnity agreement identified in Plaintiff’s Complaint and dated
20   September 30, 2019.
21   22.    The Zuppardos did all, or essentially all, of the significant things that they
22   were required to do before the obligations of Arch to deal fairly with the
23   Zuppardos attached.
24   23.    Any other conditions for performance on the part of the Zuppardos, if any
25   there were, had either occurred or were excused by Arch’s acts or failures to act.
26   24.    As a result of the conduct of Arch described herein, the Zuppardos were
27   prevented from receiving the benefits they were due under the contract with Arch.
28   For example, the Zuppardos were precluded from receiving the benefit from Arch
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 1   of Arch making timely investigations into the claims of AVCC and other owners
 2   as Arch dragged its feet in assessing claims. The Zuppardos were denied the
 3   benefits of not being exposed to bond claims while Arch dragged its feet in
 4   determining whether or not to provide financial assistance. The Zuppardos loaned
 5   money to MVC, to their detriment, with the knowledge and encouragement of
 6   Arch, as bond claims mounted and Arch continued to lead them on that financial
 7   assistance might be forthcoming.
 8   25.    By taking the actions complained of herein, Arch did not act fairly and in
 9   good faith.
10   26.    As a result, the Zuppardos were harmed by Arch’s conduct in an amount
11   equal to that which they spent in the outlay of capital to keep projects running for
12   Arch’s benefit. This is an amount that will be shown at the time of trial, but far
13   exceeds any jurisdictional requirement of federal jurisdiction were it determined
14   that pendent jurisdiction does not apply to this claim.
15   PRAYER
16   WHEREFORE, Counter-Claimants request the following:

17          1. That Counter-Claimants be awarded economic damages in an amount to be

18             determined at the time of trial;

19          2. Prejudgment Interest;

20          3. That Counter-Claimants be awarded costs of suit incurred, including applicable

21             attorneys fees per contract; and

22          4. For such other relief as the court deems proper.

23   Dated: July 25, 2022                         MCMAHON LYNCH LAW FIRM, INC.

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25                                                /s/ Robert J. Lynch

26                                                Robert J. Lynch, counsel for Counter Claimants

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                                     SECOND AMENDED COUNTER CLAIM
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 1   PROOF OF SERVICE

 2   STATE OF CALIFORNIA                    )
                                                    )   ss.
 3   COUNTY OF RIVERSIDE                    )

 4
     I am employed in the County of Riverside, State of California. I am over the age of 18 years and
 5   am not a party to the within action; my business address is 1250 Corona Pointe Court, Suite 407,
     Corona, California 92879.
 6
     On July 25, 2022, I served the following documents described as:
 7
       SECOND AMENDED COUNTER CLAIM BY JAY ANTHONY ZUPPARDO
 8     & JAY ZACHARY ZUPPARDO
       .
 9

10   on the interested parties in this action by personally delivering a true copy thereof to a
     representative of each of the law firm(s) listed in the following mailing list:
11
             Christopher M. Bunge, Esq. (SBN 258780)
12           cbunge@watttieder.com
             WATT, TIEDER, HOFFAR & FITZGERALD, L.L.P.
13           4 Park Plaza, Suite 1000
             Irvine, California 92614
14           Telephone: 949-852-6700

15    XX     By electronic service both through the ECF system and via e-mail from Outlook
             2019 to e-mail addresses that I know to be associated with each counsel after
16           having received communications from them at said addresses as listed
             immediately above.
17

18          FEDERAL: I declare that I am a member of the Bar of this Court.

19           I declare under penalty of perjury under the laws of the State of California
     that the foregoing is true and correct. Executed on July 25, 2022, at Corona,
20   California.

21
                                                                  /s/ Robert J. Lynch
22
                                                                  Robert J. Lynch
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                                      SECOND AMENDED COUNTER CLAIM
